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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------x
In re
                                                                   Chapter 11

DITECH HOLDING CORPORATION, et al.,                                Case No. 19-10412 (JLG)


                                          Debtors.                 (Jointly Administered)
---------------------------------------------------------------x

                           NOTICE OF APPOINTMENT OF OFFICIAL
                           COMMITTEE OF UNSECURED CREDITORS

        William K. Harrington, United States Trustee for Region 2, pursuant to Section 1102(a)

of title 11, United States Code, hereby appoints the following unsecured creditors that are willing

to serve on the Official Committee of Unsecured Creditors of Ditech Holding Corporation and its

affiliated debtors-in-possession:

        1.       Safeguard Properties Management, LLC
                 7887 Safeguard Circle
                 Valley View, Ohio 44125
                 Attention: Linda Erkkila, General Counsel and EVP
                 Telephone: (216) 739-2900 x 1117

        2.       Wilmington Savings Fund Society, FSB
                 WSFS Bank Center
                 500 Delaware Avenue
                 Wilmington, Delaware 19801
                 Attention: Geoffrey J. Lewis, Vice President
                 Telephone: (302) 573-3218

        3.       Lee Kamimura
                 2120 Blue Zenith Circle
                 Las Vegas, Nevada 89119
                 Telephone: (702) 373-3954
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      4.       ISGN Solutions, Inc.
               2330 Commerce Park Drive NE, Suite 2
               Palm Bay, Florida 32905
               Attention: Matthew J. Mesmer, VP, General Counsel, CCO
               Telephone: (855) 763-6350 x 63334

      5.       Black Knight Financial Technology Solutions, LLC
               601 Riverside Avenue
               Jacksonville, Florida 32204
               Attention: Donald E. Tesiero II, Managing Division Counsel
               Telephone: (904) 854-5663

      6.       Cognizant Technology Solutions
               9807 Arctic Drive
               Frisco, Texas 78035
               Attention: Prashant Kumar, Senior Director
               Telephone: (804) 833-6509

      7.       Deutsche Bank National Trust Company as RMBS Trustee
               Harbor Side Financial Center
               100 Plaza One (MS: JCY03-0801)
               Jersey City, New Jersey 07311
               Attn: Brendan Meyer, Director, Defaults and Transaction Management
               Telephone: (201) 593-8545


Dated: New York, New York
       February 27, 2019

                                            Sincerely,

                                            WILLIAM K. HARRINGTON
                                            UNITED STATES TRUSTEE

                                    By:     /s/ Greg M. Zipes
                                            Greg M. Zipes
                                            Benjamin Higgins
                                            Trial Attorneys
                                            Office of the United States Trustee
                                            U.S. Federal Office Building
                                            201 Varick Street, Room 1006
                                            New York, NY 10014
                                            Tel. (212) 510-0500
                                            Fax (212) 668-2255



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